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2
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5                             IN THE UNITED STATES DISTRICT COURT
6
                                        DISTRICT OF MINNESOTA
7

8    Mirriam Chipoka; Tyrone D. Fields, II; and               Case No.: 20-cv-00765
9    Tyrone D. Fields, III

10                            Plaintiffs,
                                                        COMPLAINT
11   vs.
                                                                 JURY TRIAL DEMANDED
12
     Jonathan Gale, M.D.; Ryan Dale Symanietz,
13   P.A.; Robert Yost, M.D.; Dr. John Doe; Dr.
     Jane Roe and Dr. Mary Moe; Abbott
14   Northwestern Hospital; Allina Health Systems;
     HealthPartners; and Health Partners.
15
                               Defendants
16

17
            COMES NOW PLAINTIFFS Mirriam Chipoka, Tyrone D. Fields, II and Tyrone D.
18

19
     Fields, III, by and through their undersigned attorney, Karen Venice Bryan, and for their causes

20   of action against the DEFENANTS, and each of them, state the following based upon personal
21   knowledge as to herself and her own actions, otherwise upon and information and belief. And as
22
     to all other matters, based on investigation conducted by and through her attorney, which
23
     included, a review of PLAINTIFF’s Mirriam Chipoka available medical records including the
24

25
     surgical actions which are the subject of this action. PLAINTIFF believes that substantial

26   evidentiary basis exists on its face for the claims set forth herein and in support of this Complaint
27   avers and alleges as follows:
28
     COMPLAINT          JURY TRIAL DEMANDED - 1
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1                                       NATURE OF THE ACTION
2
          1.      This action is brought by a former patient against medical providers for invasion
3
       of the right of choice under the concepts of autonomy and personal dignity wherein
4
       Defendants removed PLAINTIFF Mirriam Chipoka’s (hereinafter “Ms. Chipoka”) uterus and
5

6      cervix without informed consent.

7         2.      DEFENDANTS did not inform Ms. Chipoka that a hysterectomy was possible,
8
       did not obtain Ms. Chipoka’s consent to perform a hysterectomy, did not document that a
9
       hysterectomy had been performed and did not provide hormone therapy following the
10
       hysterectomy.
11

12        3.      “The battery theory should be reserved for those circumstances when a doctor

13     performs an operation to which the patient has not consented. When the patient gives
14
       permission to perform one type of treatment and the doctor performs another, the requisite
15
       element of deliberate intent to deviate from the consent given is present.” Cobbs v. Grant, 8
16
       Cal.3d 229, 239-240 (1972). Because Ms. Chipoka did not consent to the medical treatment
17

18     performed, DEFENDANTS committed battery.

19             4. “However, when the patient consents to certain treatment and the doctor performs
20
       that treatment but an undisclosed inherent complication with a low probability occurs, no
21
       intentional deviation from the consent given appears; rather the doctor in obtaining consent
22
       may have failed to meet his due care duty to disclose pertinent information. In that situation
23

24     the action should be pleaded in negligence.” Cobbs, 8 Cal.3d at 239-240.

25             5. Ms. Chipoka consented to an appendectomy, but DEFENDANTS performed an
26
       ileocecectomy without telling Ms. Chipoka that the treatment substantially varied from the
27
       consent granted. DEFENDANTS committed medical negligence.
28
     COMPLAINT         JURY TRIAL DEMANDED - 2
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1               6. DEFENDANTS actions fell below the standard of care required when in
2
       performing a CT Guided abdominal drain placement. DEFENDANTs punctured Ms.
3
       Chipoka’s intensives causing abscess to develop, severe pain and frequent hospitalization.
4
                7. As a direct result of Respondent’s medical malpractice, medical negligence, lack
5

6      of informed consent, misrepresentation, and battery, Ms. Chipoka has incurred substantial

7      injuries, damages, fees and expenses that could have been avoided.
8
                8. Ms. Chipoka seeks to recover the damages caused by Respondent’s negligent
9
       conduct. She has a claim for mental and physical suffering, past, present and future, medical
10
       expenses, and all other damages allowable under Minnesota Law.
11

12              9. The martial relationship between Mr. and Ms. Chipoka has been irreversibly

13     damaged as a result of these events. PLAINTIFF Mr. Fields has suffered by the above
14
       deviations to his wife’s care and has a claim for loss of consortium and mental anguish.
15
                10. Affidavit of review relating to the care and treatment rendered will be provided.
16
                                            JURISDICTION
17

18        11.      Jurisdiction over Plaintiff’s claim is founded upon 28 U.S.C. § 1331 [federal

19     question jurisdiction] and 28 U.S.C. § 1343(a) [federal civil rights jurisdiction]. In addition,
20
       claims for violation of Plaintiffs’ rights under the laws and the constitution of the United
21
       States are brought pursuant to 42 U.S. C. § 1983. This Court has jurisdiction over all other
22
       claims pursuant to 28 U.S.C. § 1367 because all of the claims arise from a common nucleus
23

24     of operative facts that are so intertwined that they cannot be reasonably separated.

25

26

27

28
     COMPLAINT         JURY TRIAL DEMANDED - 3
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1                                                VENUE
2
          12.     Venue is proper pursuant to 28 U.S.C. § § 1391 because at all times relevant, all
3
       of the PLAINTIFFS resided in this district and all of the wrongful acts and/or omissions
4
       complained of herein occurred in this judicial district.
5

6                                               PARTIES

7         13.     PLAINTIFF MIRIAM CHIPOKA is an individual residing in Hennepin County,
8
       Minnesota. Ms. Chipoka was a 48-year-old female who was admitted three times for between
9
       December 1, 2015 and February 15, 2016 for ruptured appendicitis. During that time, she had
10
       3 drain placement an ileocecectomy and a hysterectomy. Prior to the incidents alleged herein
11

12     Petitioner enjoyed generally good physical and sexual health.

13        14.     PLAINTIFF TYRONE D. FIELDS, II (hereinafter “Mr. Fields”) is an individual
14
       residing in Hennepin County Minnesota. Mr. Fields is married and resides with his wife,
15
       whom he relies on for her financial, emotional and spousal support services.
16
          15.     PLAINTIFF TYRONE D. FIELDS, II (hereinafter “Tyrone”) is an individual
17

18     residing in Hennepin County Minnesota. Tyrone is 15 and resides with his parents including

19     his mother whom he relies on for her maternal services, companionship and guidance.
20
          16.     At all times mentioned herein, DEFENDANT JONATHAN D. GALE, M.D.,
21
       (hereinafter “Dr. Gale”) was and still is an individual duly licensed by the State of Minnesota
22
       as a physician and surgeon, and engaged in the practice medicine as a general surgeon with
23

24     clinical interest in acute care surgery in the City of Minneapolis, County of Hennepin, State

25     of Minnesota and said DEFENDANT is affiliated in some fashion with the other
26
       DEFENDANTS named herein. In addition, at all times herein mentioned, Dr. Gale was the
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 4
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1      agent and employee of each of the entity DEFENDANTS named below and was acting at all
2
       times within the purpose and scope of said agency and employment and acting in concert.
3
          17.     At all times mentioned herein, DEFENDANT RYAN DALE SYMANIETZ, P.A.
4
       (hereinafter “Dr. Symanietz”) was and still is an individual duly licensed by the State of
5

6      Minnesota as a physician assistant and engaged in the practice medicine as a physician

7      assistant in the City of Minneapolis, County of Hennepin, State of Minnesota and said
8
       DEFENDANT is affiliated in some fashion with the other DEFENDANTS named herein. In
9
       addition, at all times herein mentioned, Dr. Symanietz was the agent and employee of each of
10
       the entity DEFENDANTS named below and was acting at all times within the purpose and
11

12     scope of said agency and employment and acting in concert.

13        18.     At all times mentioned herein, DEFENDANT ROBERT A. YOST M.D.,
14
       (hereinafter “Dr. Yost”) was and still is an individual duly licensed by the State of Minnesota
15
       as a physician and engaged in the practice medicine as a radiology specialist in the City of
16
       Minneapolis, County of Hennepin, State of Minnesota and said DEFENDANT is affiliated in
17

18     some fashion with the other DEFENDANTS named herein. In addition, at all times herein

19     mentioned, Dr. Yost was the agent and employee of each of the entity DEFENDANTS
20
       named below and was acting at all times within the purpose and scope of said agency and
21
       employment and acting in concert.
22
          19.     DEFENDANT JOHN DOE, JANE ROE and MARY MOE are physicians
23

24     licensed by the State of Minnesota. At all relevant times, DEFENDANT Does, Roes and

25     Moes practiced as a physician assistant and maintained their principal place of business in the
26
       City of Minneapolis, County of Hennepin, State of Minnesota. In addition, at all times herein
27
       mentioned, DEFENDANTs were the agent and employee of each of the entity
28
     COMPLAINT        JURY TRIAL DEMANDED - 5
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1      DEFENDANTs named below and was acting at all times within the purpose and scope of
2
       said agency and employment and acting in concert. PLAINTIFF is informed and believes
3
       that DEFENDANT Doe, Moe and Roe are individuals and sues them in such individual
4
       capacity.
5

6         20.      At all times mentioned herein, DEFENDANT ABBOTT NORTHWESTERN

7      HOSPITAL (hereinafter “ANW”) was and still is a business association, duly licensed as a
8
       hospital and health care provider with the State of Minnesota, with its principal place of
9
       doing business in the City of Minneapolis, County of Hennepin State of Minnesota.
10
       PLAINTIFF is asserting a professional liability action against this DEFENDANT.
11

12        21.      DEFENDANT Allina Health System (hereinafter “Allina”) is a professional

13     corporation or other legal entity registered to do business in the State of Minnesota with a
14
       registered office and principal place of business at 2925 Chicago Avenue Minneapolis, MN
15
       55407 United States. PLAINTIFF is asserting a professional liability action against this
16
       DEFENDANT.
17

18        22.      DEFENDANT HEALTHPARTNERS is a professional corporation or other legal

19     entity registered to do business in the State of Minnesota with a registered office and its
20
       principal place of doing business in the City of Bloomington, County of Hennepin State of
21
       Minnesota. PLAINTIFF is asserting a professional liability action against this
22
       DEFENDANT.
23

24        23.      PLAINTIFF is informed and believes that DEFENDANTS AHS, HealthPartners

25     and ANW are partnerships, limited partnerships, corporations, and/or other entities of
26
       unknown business form, and sues them in such capacity.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 6
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1         24.     Whenever and wherever reference is made in this Complaint to DEFENDANTS,
2
       such reference shall include each and every specifically and fictitiously named
3
       DEFENDANT individually, jointly, and severally. Upon information and belief, at all times
4
       herein mentioned, each of the DEFENDANTs was the agent, employee, and/or partner of,
5

6      and/or was working in concert with, each of the DEFENDANTs, and in doing the things

7      herein alleged, each was acting within the course and scope of such agency, employment,
8
       partnership, and/or concerted activity.
9
          25.     PLAINTIFF is further informed and believes and thereupon alleges that to the
10
       extent certain acts and/or omissions were undertaken by certain DEFENDANT(s), each and
11

12     other every DEFENDANT authorized, consented to, confirmed, and/or ratified each and

13     every such act and/or omission.
14
          26.     The roles, relationships, and capacities of the aforesaid individuals with respect to
15
       the defendant business entities, whether as owners, partners, employees, independent
16
       contractors, or otherwise, is not known, but plaintiff is informed and believes and based
17

18     thereon alleges that in doing the acts herein complained of, each herein defendant, including

19     all Doe defendants, was the agent, servant, partner, and employee of all other defendants and
20
       was acting within the scope of their authority as such agent, servant, partner, or employee
21
       and with the permission and consent of one another.
22
          27.     Plaintiff is ignorant of the true names and capacities of defendants sued herein as
23

24     John Doe, Jane Roe and Mary Moe, inclusive, and therefore sues these defendants by such

25     fictitious names, and plaintiff will amend this complaint to allege their true names and
26
       capacities when ascertained. Plaintiff is informed and believes and based thereon alleges that
27
       each of these fictitiously named defendants is responsible in some manner for the
28
     COMPLAINT        JURY TRIAL DEMANDED - 7
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1      occurrences herein alleged, and that plaintiff's injuries, damage, and detriment as herein
2
       alleged were proximately caused by those defendants.
3
                                       FACTUAL BACKGROUND
4
          28.     On December 1, 2015, Ms. Chipoka a married black female with a past medical
5

6      history for type II diabetes and hypertension was evaluated in the Emergency Room of West

7      Health Surgery Clinic’s Emergency Department (hereinafter “WHC”) after presenting to
8
       WHC emergency department with 6 days of 10/10 tender stabbing pain across the middle of
9
       her abdomen, with associated abdominal distension and swelling, persistent nausea vomiting
10
       and diarrhea, diaphoresis and intermittent chills.
11

12        29.     Ms. Chipoka was 48 years old at the time of the incident. Her medical history

13     included 2 caesarean sections, diabetes and hypertension.
14
          30.     Ms. Chipoka was transferred by emergency medical services and admitted to
15
       ANW Hospital. She otherwise appeared in good health. Her physical exam showed that she
16
       was oriented to person, place and time and well-developed, well-nourished, in no distress and
17

18     currently having a menstrual cycle.

19        31.     Ms. Chipoka was diagnosed with a perforated appendix. A computed tomography
20
       (hereinafter “CT”) revealed a ruptured appendicitis with right abdominal/pelvic phlegmon
21
       and probable ileus.
22
          32.     Given the extensive inflammation consultation was requested with general
23

24     surgery. CT revealed that she had a 2cm fluid collection not easily accessible and small.

25     Radiology determined that her condition appeared more inflammatory than fluid. General
26
       surgery recommended appendectomy in 6-12 weeks to resection appendix.
27
          33.     Multiple uterine masses consistent with fibroids were also detected.
28
     COMPLAINT        JURY TRIAL DEMANDED - 8
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1         34.       On December 3, 2015, a follow-up CT was conducted. The findings were
2
       consistent with a ruptured appendicitis with right abdominal phlegmon. A discrete drainable
3
       abscess was not identified.
4
          35.       Her blood pressure was elevated during the hospitalization. An EKG was without
5

6      acute changes. On December 5, 2019, she had an episode of chest pain and heaviness.

7         36.       On December 6, 2015, a repeat CT showed an air-fluid collection along the
8
       medial aspect of the base of the cecum which does not appear to communicate with the
9
       adjacent cecum. In addition, there was an abnormally dilated proximal and mid small bowel,
10
       with tapering of the small bowel in the left side of the mid abdomen. This was found to be
11

12     either related to an ileus or low grade partial small bowel obstruction.

13        37.       On December 7, 2015 Dr. Robert Yost of Interventional Radiology (“IR”)
14
       performed a CT guided abdominal drain placement.
15
          38.       DEFENDANTS admitted that during surgery they had inadvertently cut into her
16
       intestine when stool seeped into the drain tube.
17

18        39.       The drain was replaced, and Ms. Chipoka was discharged on December 9, 2015

19     with drain in place and scheduled for a follow-up visit with Surgical Specialists of
20
       Minnesota.
21
          40.       On December 16, 2015 the right lower quadrant drainage tube was removed.
22
       Since then she has developed increasing and worsening lower abdominal pain and has been
23

24     nauseous and anorexic. The drain was removed on December 19, 2015.

25        41.       On December 23, 2015 Ms. Chipoka again presented to the emergency
26
       department with acutely worsened abdominal pain and was readmitted to ANW for post-op
27
       pain and problems.
28
     COMPLAINT         JURY TRIAL DEMANDED - 9
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1         42.     A CT of the abdomen and pelvis revealed recurrent abscesses in the location
2
       where the lower quadrant drainage tube had been removed. There was also a smaller abscess
3
       inferior to the basis of the cecum that appeared new since the previous exam.
4
          43.     Radiology was consulted and on December 24, 2019 interventional radiology
5

6      placed a CT-guided drain. On December 28, 2015, a CT-guided drain exchange was

7      performed. On December 29, 2015, the drain fell out and was replaced on December 29,
8
       2015.
9
          44.     Ms. Chipoka was discharged on December 30, 2015 with a follow-up visit with
10
       general surgery on December 31, 2015 with a repeat CT-abdomen and eventual surgical goal
11

12     of interval laparoscopic appendectomy. If this fails, DEFENDANTS would consider right

13     hemicolectomy.
14
          45.     On January 5, 2016 a wet prep genital exam was conducted with no trichomonas,
15
       yeast or clue cells seen. A urine test showed that she was not pregnant.
16
          46.     On February 3, 2016 Ms. Chipoka began to have much more severe right
17

18     abdominal pain with associated nausea, vomiting and loose stools. The differential diagnosis

19     included but was not limited to, recurrent appendicitis, recurrent intra-abdominal abscess,
20
       bowel perforation, hernia, hemorrhage, UTI, ureteral stone.
21
          47.     On February 8, 2016, Ms. Chipoka was readmitted to Abbott Northwestern
22
       Hospital. The principal diagnosis causing admission was a ruptured appendicitis. Over the
23

24     days prior to admission she developed increased abdominal pain with emesis. The CT

25     conducted on February 8, 2016 was concerning for signs of worsened appendicitis as well as
26
       two new abscesses within the right lower quadrant and left pelvis. In addition, there was
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 10
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1      interval increase in the dilation of the appendix and a small focus of air adjacent to the cecum
2
       concerning for rupture.
3
           48.      Ms. Chipoka was transferred to ANW for surgery consultation and on February 9,
4
       2016 she underwent laparoscopy—open ileocecectomy. She was discharged on February 15,
5

6      2016.

7          49.      On March 6, 2020 Ms. Chipoka visited her primary care physician for a pap
8
       smear test. Dr. Nadia Malik informed her that she had no uterus or cervix.
9
           50.      Mrs. Chipola uterus, cervix, possible fallopian tubes and perhaps ovaries were
10
       removed without her being properly informed or counseled by DEFENDANTS on the effects
11

12     of removing her ovaries and receiving hormone replacement therapy.

13         51.      Ms. Chipoka underwent surgery without her consent in a non-emergency
14
       situation.
15
           52.      In addition, there was no consent for blood products for this invasive surgical
16
       procedure. DEFENDANTS never offered a hysterectomy to Ms. Chipoka and Ms. Chipoka
17

18     did not need or want a hysterectomy and a hysterectomy is not documented in Ms. Chipoka’s

19     medical history. However, her primary care physician has determined that she has no uterus
20
       or cervix.
21
           53.      DEFENDANTS had Ms. Chipoka sign consents for an appendectomy.
22
       DEFENDANTS did not document the reason why Ms. Chipoka was given a hysterectomy.
23

24     Ms. Chipoka was in a completely stable condition and did not require emergency surgery.

25     This is evident by her vital signs as well as DEFENDANTS documentation of her physical
26
       condition including that of her uterus, cervix, left fallopian tube and ovary.
27

28
     COMPLAINT         JURY TRIAL DEMANDED - 11
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1         54.     Due to the above deviations, Ms. Chipoka was put into early menopause and has
2
       developed among other ailments irritable bowel syndrome.
3
                                                    CAUSE OF ACTION
4
                                                      COUNT I
5
                                              (Professional Negligence
6                                               Medical Malpractice
                                            Against all DEFENDANTS)
7         55.     PLAINTIFF hereby incorporates by reference each of the allegations in each of
8
       the preceding paragraphs as though fully set forth herein.
9
          56.     In 2015 and 2016 Petitioner was hospitalized at ANW hospital for a ruptured
10
       appendix. At all relevant time DEFENDANTS held themselves out to the public to be
11

12     knowledgeable, experienced, skilled and competent with respect to surgery procedures,

13     intestinal medical care and treatment.
14
          57.     Between December 1, 2019 and February 15, 2019 DEFENDANTS undertook the
15
       care and treatment of PLAINTIFF, rendered professional medical services to her, and owed
16
       PLAINTIFF a duty to use the level of skill, knowledge, and care in their diagnosis and
17

18     treatment of her that other reasonably careful medical practitioners would use in the same or

19     similar circumstances.
20
          58.     As a surgeon providing medical care to PLAINTIFF, Defendants Dr. Gale, Dr.
21
       Symanietz and Dr. Yost had a duty to perform any medical procedures with the reasonable
22
       degree of care that is recognized by physicians and surgeons under similar circumstances.
23

24     Defendant’s duties included but were not limited to 1) a duty to obtain informed consent

25     from PLAINTIFF that Defendant was going to operate on PLAINTIFF’s reproductive organs
26
       2) a duty to remove PLAINTIFF’s ruptured appendix, pursuant to her consent; 3) a duty to
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 12
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1      inform PLAINTIFF that Defendant had in fact removed PLAINTIFF’s uterus and cervix and
2
       4) a duty to not perform any procedures that were unnecessary.
3
          59.     Between December 1, 2019 and February 15, 2016, in rendering professional
4
       medical services to PLAINTIFF, DEFENDANTS negligently failed to exercise the requisite
5

6      degree of knowledge, skill, and care, all in violation of the applicable standard of care.

7         60.     DEFENDANTS’ acts of negligence in violation of the standard of care include
8
       but are not limited to surgically removing healthy organs from PLAINTIFF’s body, including
9
       her uterus and cervix, when the removal of those organs was not indicated by PLAINTIFF’s
10
       medical condition.
11

12        61.     At all relevant times DEFENDANTS AHS, HealthPartners and ANW hospital

13     held themselves out as skilled medical providers who has the experience and expertise in
14
       surgery and intestine treatment and procedures.
15
          62.     At all relevant times DEFENDANTS deviated from the acceptable minimum
16
       standard of care for surgeons and medical providers when they removed Ms. Chipoka’s
17

18     uterus, cervix and possible ovaries and perhaps fallopian tubes without her knowledge or

19     consent and without documenting that they had done so.
20
          63.     DEFENDANTS deviated from the standard of care as evidenced by the
21
       following: 1) DEFENDANTS failed to inform Ms. Chipoka of the removal of her uterus and
22
       cervix and the need for hormone replacement. Mrs. Chipoka was discharged home on
23

24     February 15, 2016 without hormone therapy. 2) Ms. Chipoka was never given the

25     opportunity to explore other surgical or medical alternatives the only surgical option
26
       DEFENDANTS gave Ms. Chipoka was a total hysterectomy. Therefore, Ms. Chipoka was
27
       denied information necessary for her to make a well-informed decision regarding her
28
     COMPLAINT        JURY TRIAL DEMANDED - 13
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1      treatment. 3) DEFENDANTS did not obtain Ms. Chipoka consent for a hysterectomy. Thus
2
       Ms. Chipoka did not understand the risks, benefits, and complications regarding a
3
       hysterectomy. 4) DEFENDANTS did not properly educate and counsel Ms. Chipoka about
4
       the important consequence of hysterectomy.
5

6          64.     As a direct and proximate result of DEFENDANTS’ medical and/or professional

7      negligence, Ms. Chipoka has sustained, and will continue to sustain, injury to her person, all
8
       to her damage in a sum within the jurisdiction of this Court and to be shown according to
9
       proof at trial.
10
           65.     As a further direct and proximate result of DEFENDANTS’ medical and/or
11

12     professional negligence. She has been required to employ the services of hospitals,

13     physicians, surgeons, nurses and other professionals, in an attempt to remedy the damage and
14
       injury caused by DEFENDANTS’ negligence.
15
           66.     PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
16
       and other medical supplies and services.
17

18         67.     PLAINTIFF is informed and believes, and thereon alleges, that further services of

19     said nature will be required by her in the future in an amount to be shown according to proof
20
       at trial.
21
           68.     As a further direct and proximate result of DEFENDANTS’ medical and/or
22
       professional negligence, PLAINTIFF has sustained, and will continue to sustain, past and
23

24     future physical and emotional injuries and past and future economic and non-economic

25     damages including but not limited to: (i) past and future physical pain and suffering, (ii) past
26
       and future emotional pain, distress, frustration, annoyance, anger, fear, worry,
27
       embarrassment, discomfort and loss of enjoyment of life; (iii) past and future wage loss; (iv)
28
     COMPLAINT           JURY TRIAL DEMANDED - 14
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1      past and future medical, therapy and attendant care expenses, and (v) all other past and future
2
       economic and non-economic damages allowed by law, all in amounts to be shown according
3
       to proof at trial.
4
           69.     The amount of PLAINTIFF’s claim is presently undetermined, but will include, at
5

6      a minimum, all past and future economic damages allowed by law, all past and future non-

7      economic damages allowed by law, costs of suit, and interest as provided by law, including
8
       but not limited to, pre and post-judgment interest and punitive damages.
9
                                                 COUNT II
10
                                      (Professional Negligence
11
                                Failure to Obtain Informed Consent
12                                  Against all DEFENDANTS)
           70.     PLAINTIFF hereby incorporates by reference each of the allegations in each of
13
       the preceding paragraphs as though fully set forth herein.
14

15         71.     In rendering professional medical services to PLAINTIFF during December 1,

16     2015 and February 15, 2016, DEFENDANTS failed to exercise the requisite degree of
17
       knowledge, skill, and care, by negligently failing to obtain Ms. Chipoka’s informed consent
18
       to surgically remove her uterus, and cervix, all in violation of the applicable standard of care.
19
           72.     Specifically, on or about February 9, 2016, DEFENDANTS surgically removed
20

21     PLAINTIFF’s uterus, and cervix. Prior to performing this procedure, DEFENDANTS failed

22     to: (i) tell PLAINTIFF that he would be removing her uterus, and cervix (ii) explain to
23
       PLAINTIFF whether removal of her uterus, and cervix was medically necessary (iii) explain
24
       to PLAINTIFF less drastic and less invasive alternatives to the procedure which was in fact
25
       performed, including but not limited to beginning with a laparoscopic procedure to excise
26

27     any growth on her ovaries to determine whether such growth was cancerous prior to

28     complete removal of her uterus, and her cervix; (iv) explain alternative approaches if it
     COMPLAINT          JURY TRIAL DEMANDED - 15
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1      turned out there was an uterine growth and that the growth was in fact malignant; (v) explain
2
       alternative approaches if it turned out there was an uterine growth and the uterine growth was
3
       benign; (vi) explain the effects of the procedure performed on vaginal length, sexual
4
       functioning and menopause; (vii) give PLAINTIFF any information she needed to make an
5

6      informed decision, including the risks that a reasonable person would consider important in

7      deciding whether to have a proposed treatment or procedure; (viii) give PLAINTIFF the
8
       information skilled practitioners would disclose to the patient under the same or similar
9
       circumstances; (ix) tell PLAINTIFF that he would be removing her uterus, and cervix
10
       regardless of whether he determined the uterine fibroids was cancerous or not; or (x)
11

12     otherwise disclose to PLAINTIFF the risks or benefits of the procedure and the alternatives

13     thereto.
14
          73.     Accordingly, PLAINTIFF did not give her informed consent for the surgical
15
       removal of her uterus, and cervix by DEFENDANTS on or about February 15, 2016.
16
          74.     The reasonable person in PLAINTIFF’s position would not have agreed to the
17

18     subject procedure after being fully informed of the risks or benefits of, and the alternatives

19     to, said procedure.
20
          75.     PLAINTIFF was harmed and injured by a result or risk that DEFENDANTS
21
       should have explained before performing the procedure.
22
          76.     DEFENDANTS’ negligent failure to obtain PLAINTIFF’s informed consent
23

24     violated the applicable standard of care.

25        77.     As a direct and proximate result of DEFENDANTS’ medical and/or professional
26
       negligence, PLAINTIFF has sustained, and will continue to sustain, injury to her person, all
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 16
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1      to her damage in a sum within the jurisdiction of this Court and to be shown according to
2
       proof at trial.
3
           78.     As a further direct and proximate result of DEFENDANTS’ medical and/or
4
       professional negligence, PLAINTIFF has been required to employ the services of hospitals,
5

6      physicians, surgeons, nurses and other professionals, in an attempt to remedy the damage and

7      injury caused by DEFENDANTS’ negligence.
8
           79.     PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
9
       and other medical supplies and services. PLAINTIFF is informed and believes, and thereon
10
       alleges, that further services of said nature will be required by her in the future in an amount
11

12     to be shown according to proof at trial.

13         80.     As a further direct and proximate result of DEFENDANTS’ medical and/or
14
       professional negligence, PLAINTIFF has sustained, and will continue to sustain, past and
15
       future physical and emotional injuries and past and future economic and non-economic
16
       damages including but not limited to: (i) past and future physical pain and suffering, (ii) past
17

18     and future emotional pain, distress, frustration, annoyance, anger, fear, worry,

19     embarrassment, discomfort and loss of enjoyment of life; (iii) past and future wage loss; (iv)
20
       past and future medical, therapy and attendant care expenses, and (v) all other past and future
21
       economic and non-economic damages allowed by law, all in amounts to be shown according
22
       to proof at trial.
23

24         81.     The amount of PLAINTIFF’s claim is presently undetermined, but will include, at

25     a minimum, all past and future economic damages allowed by law, all past and future non-
26
       economic damages allowed by law, costs of suit, and interest as provided by law, including
27
       but not limited to, pre and post-judgment interest and punitive damages.
28
     COMPLAINT           JURY TRIAL DEMANDED - 17
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1                                                 COUNT III
2
                                           (Informed Consent
3                                            Medical Battery
                 Against Dr. Gale, Dr. Symanietz, Dr. Yost, Dr. Doe, Dr. Roe and Dr. Moe
4
           82.      PLAINTIFF hereby incorporates by reference each of the allegations in each of
5

6      the preceding paragraphs as though fully set forth herein.

7          83.      Prior to the February 9, 2016 surgery. PLAINTIFF consented to the removal of
8
       her appendix on the condition it was ruptured and causing her pain and injury.
9
           84.      PLAINTIFF never consented to the removal of her uterus, cervix, possibly both
10
       ovaries and fallopian tube.
11

12         85.      Additionally, prior to the subject surgery, DEFENDANTS requested and were

13     given consent to operate on PLAINTIFF’s compromised appendix not her healthy organs.
14
       DEFENDANTS actions constitute medical assault and battery.
15
           86.      To prevail on a medical battery, claim under Minnesota law, Plaintiff must
16
       establish either (1) that he did not consent to the medical treatment performed, or (2) that the
17

18     treatment substantially varied from the consent granted. See Cornfeldt v. Tongen, 262

19     N.W.2d 684, 699 (Minn. 1977) (“An action for battery is appropriate where the treatment
20
       consists of a touching that is of a substantially different nature and character from that to
21
       which the plaintiff consented.”); Kohoutek v. Hafner, 383 N.W.2d 295, 299 (Minn. 1986)
22
       (“In battery cases, . . . the question is whether the physician, in fact, told the patient of the
23

24     nature and character of the procedure and the patient consented to that

25     procedure.”); McCollar v. Mayo Clinic, 1997 WL 714743, *1 (Minn. Ct. App. Nov. 18,
26
       1997) (listing elements of prima facie medical battery claim); K.A.C. v. Benson, 527 N.W.2d
27
       553, 561 (Minn. 1995).
28
     COMPLAINT         JURY TRIAL DEMANDED - 18
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1         87.     PLAINTIFF did not consent to have a “a small umbilical hernia dissected”. In
2
       addition, PLAINTIFF did not give consent to have DEFENDANT’s “inspect [her] uterus, the
3
       left ovary and fallopian tube” in direct violation of 21 C.F.R. § 50.1 through 21 C.F.R. §
4
       50.27 and 45 C.F.R. § 46.101 through 45 C.F.R. § 46.124; see also Mohr v. Williams, 95
5

6      Minn. 261, 104 N.W. 12 (1905).

7         88.     In direct violation of PLAINTIFF’s conditional consent and instructions to
8
       remove unhealthy organs, DEFENDANTS negligently, carelessly, recklessly, and
9
       intentionally removed PLAINTIFF’s heathy uterus, cervix, possibly ovaries and fallopian
10
       tube “which showed no sign of abnormality” and despite the fact that the surgery
11

12     PLAINTIFF agreed to was appendectomy (the surgical removal of the appendix) and

13     possible a ileocecectomy (the surgical removal of the ileum and part of the colon) all in
14
       violation of the applicable standard of care.
15
          89.     The lack of any consent at all makes Ms. Chipoka’s claim an issue of medical
16
       battery, not medical malpractice. Minn. Stat. § 145.682; 42 U.S.C § 1983.
17

18        90.     Further, DEFENDANTS intended to remove PLAINTIFF’s uterus, cervix

19     possible ovaries and fallopian tubes with knowledge that an appendectomy is an emergency
20
       surgery that’s performed to treat appendicitis, an inflammatory condition of the appendix.
21
       This constitutes medical battery.
22
          91.     PLAINTIFF provided consent for surgery to address problems with her intestines,
23

24     which are part of her digestive system, and Drs. Gale and Symanietz removed PLAINTIFF’s

25     perfectly healthy uterus, cervix, possible fallopian tube and perhaps ovary, which were part
26
       of her reproductive system. Dr. Gale and Dr. Symanietz clearly had no consent to cut into
27
       PLAINTIFF’s healthy reproductive organs.
28
     COMPLAINT        JURY TRIAL DEMANDED - 19
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1         92.     Dr. Gale and Dr. Symanietz performed an operation to which PLAINTIFF did not
2
       consent. They committed a battery.
3
          93.     PLAINTIFF consented to surgery to address problems with her intestines and Dr.
4
       Gale and Symanietz removed her healthy uterus cervix and perhaps her fallopian tube ovary.
5

6      PLAINTIFF did not give her informed consent to the hysterectomy procedure or any type of

7      offensive bodily contact which the procedure required.
8
          94.     Despite the lack of PLAINTIFF’s consent, DEFENDANT made offensive bodily
9
       contact on PLAINTIFF’s person.
10
          95.     In addition, PLAINTIFF did not consent to any surgical intervention that could
11

12     result in injury or excision of her uterus and cervix. DEFENDANTS committed a medical

13     battery upon PLAINTIFF by the exploration of her uterus and cervix and total removal of her
14
       uterus and cervix and perhaps fallopian tube and possible ovaries.
15
          96.     Furthermore, defendant committed a battery by performing any surgical
16
       intervention including but not limited to a removal of the cervix and uterus compromising her
17

18     fertility. PLAINTIFF suffered damages as a result of this offensive, bodily contact.

19        97.     PLAINTIFFs cause of action for battery seeks recovery of all damages
20
       PLAINTIFF has suffered as a result of Drs. Gale and Symanietz’s removal of PLAINTIFF’s
21
       healthy uterus, cervix possibly fallopian tubes and perhaps ovaries for which he had no
22
       consent.
23

24        98.     Additionally, DEFENDANTS negligently, carelessly, recklessly, and

25     intentionally removed PLAINTIFF’s uterus, cervix and perhaps ovaries and fallopian tubes
26
       without her consent, all in violation of the applicable standard of care.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 20
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1         99.     DEFENDANTS unpermitted, unprivileged, intentional contact with
2
       PLAINTIFF’s person was an invasion of the right of choice under the concepts of autonomy
3
       and personal dignity.
4
          100.    As a direct and proximate result of DEFENDANTS’ medical and/or professional
5

6      willful, deliberate and intentional conduct, PLAINTIFF has sustained, and will continue to

7      sustain, injury to her person, all to her damage in a sum within the jurisdiction of this Court
8
       and to be shown according to proof at trial.
9
          101.    As a further direct and proximate result of DEFENDANTS’ medical and/or
10
       professional willful, deliberate and intentional conduct, PLAINTIFF has been required to
11

12     employ the services of hospitals, physicians, surgeons, nurses and other professionals, in an

13     attempt to remedy the damage and injury caused by DEFENDANTS’ negligence.
14
          102.    PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
15
       and other medical supplies and services. PLAINTIFF is informed and believes, and thereon
16
       alleges, that further services of said nature will be required by her in the future in an amount
17

18     to be shown according to proof at trial.

19        103.    As a further direct and proximate result of DEFENDANTS’ medical and/or
20
       professional willful, deliberate and intentional conduct, PLAINTIFF has sustained, and will
21
       continue to sustain, past and future physical and emotional injuries and past and future
22
       economic and non-economic damages including but not limited to: (i) past and future
23

24     physical pain and suffering, (ii) past and future emotional pain, distress, frustration,

25     annoyance, anger, fear, worry, embarrassment, discomfort and loss of enjoyment of life; (iii)
26
       past and future wage loss; (iv) past and future medical, therapy and attendant care expenses,
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 21
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1      and (v) all other past and future economic and non-economic damages allowed by law, all in
2
       amounts to be shown according to proof at trial.
3
          104.     The amount of PLAINTIFF's claim is presently undetermined, but will include,
4
       at a minimum, all past and future economic damages allowed by law, all past and future non-
5

6      economic damages allowed by law, costs of suit, and interest as provided by law, including

7      but not limited to, pre and post-judgement interest and punitive damages.
8
                                             COUNT IV
9
                                       (Professional Negligence
10                                  Intentional Misrepresentation
                                     Against all DEFENDANTS)
11

12     105.        PLAINTIFF hereby incorporates by reference each of the allegations in each of

13        the preceding paragraphs as though fully set forth herein.
14
       106.        On December 3, 2015, DEFENDANT Dr. Robert Yost conducted a routine CT
15
          guided abdominal drain placement. During the procedure, Dr. Yost negligently punctured
16
          PLAINTIFF’s intestines, which necessitated another routine CT guided abdominal drain
17

18        placement and subsequent surgery to replace the damage. Defendants did not inform

19        PLAINTIFF of the kind of surgery that was performed.
20
       107.        Subsequently, PLAINTIFF was hospitalized on several occasions due to small
21
          bowel obstruction caused by the scaring which resulted from the damage to Plaintiffs’
22
          intestines. On December 9, 2019 PLAINTIFF provided DEFENDANTS consent for
23

24        appendectomy removal of PLAINTIFF’s ruptured appendix.

25     108.        Dr. Gale and Dr. Symanietz did not inform PLAINTIFF that they would be
26
          performing an ileocecectomy and a hysterectomy and did not obtain PLAINTIFF’s
27
          consent for either surgery.
28
     COMPLAINT        JURY TRIAL DEMANDED - 22
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1      109.        Dr. Gale and Dr. Symanietz removed Plaintiff’s healthy uterus and cervix,
2
          perhaps fallopian tube and possibly ovary and then lied to PLAINTIFF by claiming that
3
          he had only taken out her ruptured appendix.
4
       110.        Dr. Gale and Dr. Symanietz removed a section of PLAINTIFF’s colon and then
5

6         lied to PLAINTIFF that he had only removed her ruptured appendix.

7      111.        Dr. Gale and Dr. Symanietz removed a benign umbilical hernia and then lied to
8
          PLAINTIFF that he had only removed her ruptured appendix. The procedures performed
9
          were substantially different from an appendectomy and constitute a medical battery.
10
       112.        Prior to and during the period of time referred to herein, Dr. Gale and Dr.
11

12        Symanietz held themselves out as a skilled general surgeon and represented that he was a

13        medical doctor, competent to perform services for PLAINTIFF as others.
14
       113.        Defendant was a licensed member of the Minnesota State Medical Association at
15
          all times pertinent to this action.
16
       114.        PLAINTIFF relied on DEFENDANT’s representations. Dr Gale and Dr.
17

18        Symanietz owed PLAINTIFF a duty to provide medical services under a standard of care

19        commensurate with the prevailing standard of care in the medical community at the time
20
          and place that the services were provided.
21
       115.        Dr. Gale and Dr. Symanietz failed to provide services to PLAINTIFF at the level
22
          of the standard of care required.
23

24     116.        The failure to obtain consent for the actual surgery performed, failure to inform

25        PLAINTIFF of the injury caused on December 3, 2015 and failure to disclose the fact he
26
          performed an ileocecectomy and an hysterectomy on February 9, 2016, constituted fraud
27

28
     COMPLAINT         JURY TRIAL DEMANDED - 23
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1         in the inducement, intentional misrepresentation by the reckless representation to
2
          PLAINTIFF that he would only have an appendectomy.
3
       117.        Dr. Gale and Dr. Symanietz took matters into their own hands and made a
4
          decision for PLAINTIFF to exceed the scope of his uninformed consent. Dr. Gale and Dr.
5

6         Symanietz had a duty to inform PLAINTIFF of any findings they discovered during the

7         course of surgery.
8
       118.        They were obligated to inform PLAINTIFF whether they had located a cancerous
9
          tumor and had removed the hematoma and her uterus and cervix but failed to do so.
10
       119.        DEFENDANT had duty to disclose material facts to PLAINTIFF because
11

12        DEFENDANT had special knowledge of material facts to which PLAINTIFF did not

13        have access to.
14
       120.        Specifically, DEFENDANT had a duty to disclose to PLAINTIFF that he had
15
          extracted the uterus and cervix because DEFENDANT had special knowledge that he had
16
          in fact extracted the uterus and cervix which was healthy, and PLAINTIFF did not have
17

18        access to such information.

19     121.        DEFENDANTS made false representations to PLAINTIFF of past or present
20
          material facts that were susceptible of knowledge.
21
       122.        DEFENDANTS also failed to disclose to PLAINTIFF material facts that
22
          Defendant had a duty to disclose to PLAINTIFF and of which Defendant had special
23

24        knowledge, In particular, that Defendant informed PLAINTIFF that he had extracted the

25        appendix which PLAINTIFF gave her informed consent to, when in fact Defendant had
26
          extracted her uterus and cervix which was not injured.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 24
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1      123.        DEFENDANTS failed to disclose to PLAINTIFF that he had in fact extracted the
2
          incorrect organ. DEFENDANTS knew at the time they made them that their
3
          representations and/or omissions were false.
4
       124.        DEFENDANTS made the false representations and/or omissions with the intent to
5

6         induce PLAINTIFF to act in reliance upon them, or under circumstances where

7         PLAINTIFF was justified in relying upon them and did do induce PLAINTIFF.
8
       125.        PLAINTIFF believed said representations and relied and acted upon them by,
9
          among other things, leaving DEFENDANT’s care without any objection and with over a
10
          $150,000 in medical bills.
11

12     126.        As a direct and proximate result of DEFENDANT’s false representations and

13        PLAINTIFF’s reliance thereon, PLAINTIFF was damaged in an amount to be proved at
14
          trial. As a direct result of DEFENDANT’s medical malpractice and misrepresentation,
15
          PLAINTIFF has incurred substantial injuries, fees and expenses that could have been
16
          avoided.
17

18     127.        As a direct and proximate result of DEFENDANTS’ medical and/or professional

19        negligence, PLAINTIFF has sustained, and will continue to sustain, injury to her person,
20
          all to her damage in a sum within the jurisdiction of this Court and to be shown according
21
          to proof at trial.
22
       128.        As a further direct and proximate result of DEFENDANTS’ medical and/or
23

24        professional negligence, PLAINTIFF has been required to employ the services of

25        hospitals, physicians, surgeons, nurses and other professionals, in an attempt to remedy
26
          the damage and injury caused by DEFENDANTS’ negligence.
27

28
     COMPLAINT         JURY TRIAL DEMANDED - 25
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1      129.        PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
2
          and other medical supplies and services. PLAINTIFF is informed and believes, and
3
          thereon alleges, that further services of said nature will be required by her in the future in
4
          an amount to be shown according to proof at trial.
5

6      130.        As a further direct and proximate result of DEFENDANTS’ medical and/or

7         professional negligence, PLAINTIFF has sustained, and will continue to sustain, past and
8
          future physical and emotional injuries and past and future economic and non-economic
9
          damages including but not limited to: (i) past and future physical pain and suffering, (ii)
10
          past and future emotional pain, distress, frustration, annoyance, anger, fear, worry,
11

12        embarrassment, discomfort and loss of enjoyment of life; (iii) past and future wage loss;

13        (iv) past and future medical, therapy and attendant care expenses, and (v) all other past
14
          and future economic and non-economic damages allowed by law, all in amounts to be
15
          shown according to proof at trial.
16
       131.        The amount of PLAINTIFF’s claim is presently undetermined, but will include, at
17

18        a minimum, all past and future economic damages allowed by law, all past and future

19        non-economic damages allowed by law, costs of suit, and interest as provided by law,
20
          including but not limited to, pre and post-judgment interest and punitive damages.
21
                                               COUNT V
22
                                        (Breach of Contract
23
                                     Against all DEFENDANTS)
24
       132.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
25
          the preceding paragraphs as though fully set forth herein. On or about December 1, 2015,
26

27        PLAINTIFF suffered severe abdominal pains.

28
     COMPLAINT        JURY TRIAL DEMANDED - 26
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1      133.        PLAINTIFF received treatment at the emergency room at WHC and was
2
          transferred to ANW. Between December 1, 2015 and February 15, 2016, PLAINTIFF
3
          and DEFENDANTs entered into an agreement whereby DEFENDANTS would provide
4
          certain medical services as a medical provider to PLAINTIFF.
5

6      134.        Dr. Gale was a medical doctor licensed to practice medicine in the State of

7         Minnesota. PLAINTIFF and DEFENDANTS Agreed that PLAINTIFF will operate on
8
          PLAINTIFF’s appendix with the oversight of ANW, Allina and HealthPartners.
9
       135.        While PLAINTIFF was incapacitated by anesthesia, DEFENDANT beached this
10
          contractual agreement with PLAINTIFF by removing PLAINTIFF’s uterus and cervix.
11

12     136.        At no time did PLAINTIFF give informed consent to the complete removal of her

13        uterus and cervix nor did DEFENDANTs ever discuss the possibility or the necessity of a
14
          hysterectomy with PLAINTIFF.
15
       137.        According to the DEFENDANT’s Operative Report, DEFENDANTs did not
16
          inform or counsel PLAINTIFF as to the risks and benefits of surgery.
17

18     138.        PLAINTIFF was never informed that hysterectomy was or could be considered by

19        the DEFENDANT, and PLAINTIFF never consented to undergo a hysterectomy.
20
       139.        As a result of DEFENDANTs negligent acts during surgery, PLAINTIFF’s has
21
          entered early menopause and her sexual organs does not function correctly and causes
22
          PLAINTIFF constant pain and suffering.
23

24     140.        Further, DEFENDANTs did not admit that he removed PLAINTIFFs uterus and

25        cervix without PLAINTIFFs knowledge or her consent. The removal of PLAINTIFF’s
26
          uterus and cervix was not necessary according to the operative report.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 27
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1      141.        DEFENDANT’s Operative Report makes no mention that PLAINTIFF ever gave
2
          informed consent as to the removal of her uterus and cervix or resulting early menopause.
3
       142.        The actions of DEFENDANT amount to breach of contract and failure to give
4
          and/or obtain informed consent.
5

6      143.        In similar situations, other surgeons would have removed the organ for which

7         they were given informed consent, informed the patient of their failure to extract the
8
          defective organ, obtained informed consent prior to performing a removal and would
9
          have extracted the clearly ruptured appendix.
10
       144.        Because PLAINTIFF has only two children and was still having her menstrual
11

12        cycle the loss of her uterus and cervix caused severe damage to PLAINTIFF’s life.

13        DEFENDANTs, through willful and wanton misconduct as set forth herein, caused the
14
          damages to PLAINTIFF, including but not limited to necessitating future surgical
15
          intervention.
16
       145.        The complete loss of PLAINTIFFs uterus caused PLAINTIFF to be damaged in
17

18        the amount to be established at the time of trial.

19     146.        PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
20
          and other medical supplies and services.
21
       147.        PLAINTIFF is informed and believes, and thereon alleges, that further services of
22
          said nature will be required by her in the future in an amount to be shown according to
23

24        proof at trial.

25     148.        As a further direct and proximate result of DEFENDANTS’ medical and/or
26
          professional negligence, PLAINTIFF has sustained, and will continue to sustain, past and
27
          future physical and emotional injuries and past and future economic and non-economic
28
     COMPLAINT         JURY TRIAL DEMANDED - 28
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1         damages including but not limited to: (i) past and future physical pain and suffering, (ii)
2
          past and future emotional pain, distress, frustration, annoyance, anger, fear, worry,
3
          embarrassment, discomfort and loss of enjoyment of life; (iii) past and future wage loss;
4
          (iv) past and future medical, therapy and attendant care expenses, and (v) all other past
5

6         and future economic and non-economic damages allowed by law, all in amounts to be

7         shown according to proof at trial.
8
       149.        The amount of PLAINTIFF’s claim is presently undetermined, but will include, at
9
          a minimum, all past and future economic damages allowed by law, all past and future
10
          non-economic damages allowed by law, costs of suit, and interest as provided by law,
11

12        including but not limited to, pre and post-judgment interest.

13                                                    COUNT VI
14
                                               (Vicarious Liability
15                                           Against DEFENDANTS
                             Allina Health, Abbott Northwestern and HealthPartners)
16
       150.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
17

18        the preceding paragraphs as though fully set forth herein.

19     151.        DEFENDANTS ALLINA, HealthPartners and ANW hospital negligently
20
          informed PLAINTIFF of the risks of surgery, negligently diagnosed PLAINTIFF,
21
          negligently advised PLAINTIFF, negligently performed surgery on PLAINTIFF,
22
          negligently treated PLAINTIFF after surgeries, negligently supervised employees,
23

24        negligently used and maintained equipment, and so negligently cared for PLAINTIFF in

25        other ways that defendants breached the duty to use due care in treating PLAINTIFF.
26
       152.        PLAINTIFF was diagnosed with appendicitis on December 1, 2015. PLAINTIFF
27
          was referred to defendant ANW for an evaluation of her appendix on December 1, 2019.
28
     COMPLAINT        JURY TRIAL DEMANDED - 29
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1         DEFENDANT Allina, HealthPartners and ANW hospital negligently performed a
2
          medical procedure without informed consent and without proper monitoring. As a result
3
          of the procedure performed PLAINTIFF was severely and permanently injured.
4
       153.        The care provided by DEFENDANTS was below the standard of care of
5

6         competent physicians and medical providers.

7      154.        As a proximate result of said negligence of the DEFENDANTs, and each of them,
8
          PLAINTIFF was hurt and injured in PLAINTIFF's health, strength and activity sustaining
9
          injury to PLAINTIFF’s body, and shock and injury to PLAINTIFF’s nervous system and
10
          person, all of which said injuries have caused and continue to cause PLAINTIFF great
11

12        mental, physical and nervous pain and suffering in an amount to be determined and

13        according to proof, within the jurisdiction of this Court.
14
       155.        As further proximate result of the said negligence by the DEFENDANTs, and
15
          each of them, PLAINTIFF was prevented from attending to PLAINTIFF’s usual
16
          occupation for a period of time and suffered economic damages in an amount according
17

18        to proof, within the jurisdiction of this Court.

19     156.        As further proximate result of the said negligence of the DEFENDANTs, and
20
          each of them, PLAINTIFF was required to and will need to employ physicians and
21
          surgeons to examine, treat, and care for her and PLAINTIFF did and will incur medical
22
          and incidental expenses in an amount to be determined according to proof.
23

24     157.        As a result of the surgery negligently performed by DEFENDANTs, PLAINTIFF

25        has suffered severe physical and emotional injuries including but not limited to total
26
          removal of her uterus and cervix and possibly her fallopian tubes and ovaries, irritable
27
          bowel syndrome and complex regional pain syndrome.
28
     COMPLAINT        JURY TRIAL DEMANDED - 30
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1      158.        DEFENDANTS negligent conduct has caused pain and suffering, inconvenience,
2
          mental anguish, emotional distress, fear of injury, and other non-pecuniary loss, in
3
          addition, PLAINTIFF has incurred extensive medical bills.
4
       159.        All of the acts alleged to have been done or not to have been done by
5

6         DEFENDANTS Allina Health Systems, Abbott Northwestern Hospital and

7         HealthPartners and Doe were done or not done by said DEFENDANTs, their agents,
8
          servants and/or employees acting within the course and scope of their employment and
9
          on behalf of said DEFENDANTs.
10
       160.        At all times relevant hereto, individual DEFENDANTS were actual, apparent
11

12        agent or ostensible agent, servant and/or employee of DEFENDANTS entities and or

13        hospital and or health systems and or health partners.
14
       161.        At all times relevant hereto, DEFENDANTs Allina, ANW and HealthPartners
15
          were acting through their agents and ostensible agents, servants, and/or employees who
16
          were engaged in the business of providing medical care and were, at all times relevant
17

18        hereto, acting in the course and scope of their employment duties and authority.

19     162.        The complete loss of PLAINTIFF’s uterus caused PLAINTIFF to be damaged in
20
          the amount to be established at the time of trial.
21
       163.        PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
22
          and other medical supplies and services.
23

24     164.        PLAINTIFF is informed and believes, and thereon alleges, that further services

25        of said nature will be required by her in the future in an amount to be shown according to
26
          proof at trial.
27

28
     COMPLAINT         JURY TRIAL DEMANDED - 31
              CASE 0:20-cv-00765-NEB-ECW Doc. 1 Filed 03/22/20 Page 32 of 43



1      165.        As a further direct and proximate result of DEFENDANTS’ medical and/or
2
          professional negligence, PLAINTIFF has sustained, and will continue to sustain, past and
3
          future physical and emotional injuries and past and future economic and non-economic
4
          damages including but not limited to: (i) past and future physical pain and suffering, (ii)
5

6         past and future emotional pain, distress, frustration, annoyance, anger, fear, worry,

7         embarrassment, discomfort and loss of enjoyment of life; (iii) past and future wage loss;
8
          (iv) past and future medical, therapy and attendant care expenses, and (v) all other past
9
          and future economic and non-economic damages allowed by law, all in amounts to be
10
          shown according to proof at trial.
11

12     166.        The amount of PLAINTIFF’s claim is presently undetermined, but will include, at

13        a minimum, all past and future economic damages allowed by law, all past and future
14
          non-economic damages allowed by law, costs of suit, and interest as provided by law,
15
          including but not limited to, pre and post-judgment interest.
16
                                                      COUNT VII
17

18                                        (Professional Negligence
                             Failure to Supervise and Negligent Hiring Against
19                     DEFENDANTs Allina Health, Abbott Northwestern and Doe entities)
20
       167.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
21
          the preceding paragraphs as though fully set forth herein.
22
       168.        At all times material, DEFENDANTS owed PLAINTIFF a duty to exercise that
23

24        level of care, skill, and treatment which, in light of all relevant surrounding

25        circumstances, was recognized as acceptable and appropriate by reasonably careful
26
          physicians caring for a patient such as Ms. Chipoka.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 32
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1      169.        On or between December 1, 2015 through February 16, 2016, DEFENDANTS
2
          care fell below the accepted and/or applicable standard of care in the treatment of Ms.
3
          Chipoka in one or more of the following ways: a. By removing PLAINTIFFs cervix
4
          during a normal appendix procedure; b. Failing to possess the experience, training,
5

6         expertise and care required of a specialist; c. In failing to utilize the proper and

7         appropriate technique required for an appendix surgery; d. Failing to meet the standard of
8
          care required of a specialist; e. Holding out expertise which induced PLAINTIFF to
9
          believe that adequate and proper care was provided when, in fact, adequate, proper and
10
          reasonable care was not provided; f. In acting with reckless disregard/indifference to the
11

12        health and welfare of PLAINTIFF by removing a normal and healthy cervix and uterus.

13        g. In increasing the risk of future harm to PLAINTIFF, including but not limited to, the
14
          need for both additional surgery and/or hormone therapy; and h. In failing to inform
15
          PLAINTIFF of the risk associated with the proposed surgery.
16
       170.        The injuries, damages and losses suffered by PLAINTIFF, as fully hereinafter set
17

18        forth, were the direct and proximate result of the negligence, carelessness and breach of

19        acceptable medical standards of care on the part of the DEFENDANTS, their agents,
20
          servants, and/or employees.
21
       171.        Said conduct of DEFENDANTs amounts to reckless disregard and/or indifference
22
          to an obvious departure from the standard of care with gross indifference to PLAINTIFFs
23

24        health and well-being.

25     172.        As a direct and proximate result of the negligence, carelessness, and breach of the
26
          acceptable standard of care on the part of the DEFENDANTs, their agents, servants
27
          and/or employees, all of which substantially increased the risk of harm to PLAINTIFF.
28
     COMPLAINT        JURY TRIAL DEMANDED - 33
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1      173.        PLAINTIFF sustained and/or will sustain the following damages: a PLAINTIFF
2
          was left without a uterus and cervix b. PLAINTIFF was left with early menopause. c.
3
          PLAINTIFF will require additional future surgery; d. PLAINTIFF experienced extended
4
          and extreme pain, suffering and emotional distress; e. PLAINTIFF will require hormone
5

6         therapy; f. PLAINTIFF experienced and continues to experience humiliation,

7         embarrassment and such other damages as are permitted by law; g. PLAINTIFF incurred
8
          unnecessary medical bills, mental anguish and upset; h. PLAINTIFF has incurred a loss
9
          of income past, present and future; i. PLAINTIFF has incurred a loss of economic
10
          horizons; j. PLAINTIFF has a permanent impairment k. PLAINTIFF will incur future
11

12        medical expenses; l. Future pain, suffering, and emotional distress; m. Past, present and

13        future loss of life’s pleasures; n. Other damages recoverable pursuant to Minnesota law.
14
       174.        PLAINTIFF demands judgment against all DEFENDANTs, jointly and severally,
15
          for compensatory and punitive damages in an amount to be determined upon proof,
16
          interest, the costs of this action, attorney fees and such other and further relief to which
17

18        PLAINTIFFs are entitled as determined by this Court.

19                                                   COUNT VIII
20
                                   Professional Negligence/Medical Battery
21                       Against DEFENDANTS Allina Health and Abbott Northwestern

22     175.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
23
          the preceding paragraphs as though fully set forth herein.
24
       176.        “A claim of battery lies against a physician who performs a medical procedure on
25
          a patient without his or her consent.” Kohoutek v. Hafner, 383 N.W.2d 295, 298
26

27        (Minn.1986) (citing Mohr v. Williams, 104 N.W. 12 (Minn.1905)). A claim of battery in

28
     COMPLAINT        JURY TRIAL DEMANDED - 34
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1         the medical context has two elements: performance of a medical procedure and a lack of
2
          consent to that procedure.
3
       177.        On or about December 1, 2015, PLAINTIFF presented to WHC with complaints
4
          of abdominal pain. WHC referred PLAINTIFF to Abbot Northwestern hospital for an
5

6         examination. The examination revealed a rupture appendix. This same examination noted

7         PLAINTIFFs uterus and cervix to be within normal range.
8
       178.        The individual DEFENDANTS removed PLAINTIFFS uterus, cervix and perhaps
9
          fallopian tubes and ovaries without PLAINTIFFS knowledge and consent.
10
       179.        Medical providers are bound to disclose risks which a reasonable person would
11

12        consider material to a decision whether or not to undergo treatment and/or testing.

13     180.        Dr. Gale, Symanietz and Yost are and/or were agents, ostensible agents, servants
14
          and/or employees of DEFENDANTS Allina Health, HealthPartners and ANW hospital or
15
          apparent agents held out as such.
16
       181.        At all times material hereto, DEFENDANTS were acting in the scope of their
17

18        employment as agents, ostensible agents, servants, and/or employees of entity

19        DEFENDANTS. DEFENDANTs Allina Health, HealthPartners and ANW hospital are
20
          vicariously liable for the acts and commissions or omissions of Drs Gale, Symanietz and
21
          Yost fully as though the aforementioned acts, and/or omissions were performed by
22
          DEFENDANTs Allina Health System, HealthPartners and/or Abbott Northwestern
23

24        Hospital themselves.

25     182.        DEFENDANTS and/or DEFENDANT’s agents, servants, and/or employees did
26
          not explain the risks, complications, alternatives, and seriousness of the surgery to
27
          remove an appendix.
28
     COMPLAINT        JURY TRIAL DEMANDED - 35
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1      183.        Specifically, DEFENDANTS and/or their agents, servants, and/or employees
2
          failed to disclose the possibility of the removal of PLAINTIFF’s uterus and cervix.
3
       184.        The procedure involved undisclosed risks and the harm occurred which a
4
          reasonable patient would have considered a substantial factor in determining whether or
5

6         not to undergo or reject the surgery. There was no proper informed consent to remove

7         PLAINTIFF’s uterus and cervix from PLAINTIFF to DEFENDANTS prior to the
8
          surgery performed on February 9, 2016.
9
       185.        PLAINTIFF was not given proper informed consent regarding the nature of the
10
          proposed procedure and the risks and alternatives that a reasonably prudent patient would
11

12        consider material to the decision whether or not to undergo surgery to repair her

13        appendix.
14
       186.        DEFENDANTS reviewed PLAINTIFF’s CT scan and/or the report from the
15
          radiologist who read PLAINTIFF’s MRI films, prior to surgery and knew her uterus and
16
          cervix to be intact.
17

18     187.        DEFENDANTS knew that PLAINTIFF was scheduled to have surgery to repair

19        her appendix.
20
       188.        DEFENDANTS knew that removal of PLAINTIFF’s uterus was not necessary,
21
          nor was an accepted risk of the appendix surgery to repair PLAINTIFF’s ruptured
22
          appendix.
23

24     189.        DEFENDANT’s actions or inactions to properly inform PLAINTIFF of options,

25        alternatives, and consequences of the surgery were a substantial factor in PLAINTIFF’s
26
          decision to proceed with the surgery.
27

28
     COMPLAINT        JURY TRIAL DEMANDED - 36
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1      190.        DEFENDANTs committed a battery by not obtaining informed consent prior to
2
          the removal of PLAINTIFF’s uterus and cervix during the surgery to repair
3
          PLAINTIFF’s appendix.
4
       191.        PLAINTIFF has been compelled to incur expenses for such treatment, medicines,
5

6         and other medical supplies and services.

7      192.        PLAINTIFF is informed and believes, and thereon alleges, that further services of
8
          said nature will be required by her in the future in an amount to be shown according to
9
          proof at trial.
10
       193.        As a further direct and proximate result of DEFENDANTS’ medical and/or
11

12        professional negligence, carelessness, recklessness, and intentional conduct, PLAINTIFF

13        has sustained, and will continue to sustain, past and future physical and emotional
14
          injuries and past and future economic and non-economic damages including but not
15
          limited to: (i) past and future physical pain and suffering, (ii) past and future emotional
16
          pain, distress, frustration, annoyance, anger, fear, worry, embarrassment, discomfort and
17

18        loss of enjoyment of life; (iii) past and future wage loss; (iv) past and future medical,

19        therapy and attendant care expenses, and (v) all other past and future economic and non-
20
          economic damages allowed by law, all in amounts to be shown according to proof at trial.
21
       194.        The amount of PLAINTIFF's claim is presently undetermined, but will include, at
22
          a minimum, all past and future economic damages allowed by law, all past and future
23

24        non-economic damages allowed by law, costs of suit, and interest as provided by law,

25        including but not limited to, pre and post-judgement interest and punitive damages.
26
                                                      COUNT IX
27
                                              (Breach of Fiduciary duty
28                                           Against all DEFENDANTS)
     COMPLAINT         JURY TRIAL DEMANDED - 37
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1
       195.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
2

3         the preceding paragraphs as though fully set forth herein.

4      196.        On or between December 1, 2015 and February 15, 2016, Ms. Chipoka was a
5
          patient of Abbott Northwestern. At all times relevant hereto, a physician-patient
6
          relationship existed between PLAINTIFF and all named DEFENDANTs, which
7
          DEFENDANTs had a non-delegable duty to render appropriate medical care and
8

9         treatment within acceptable medical standards and within the course and scope of the

10        specialty which they held themselves out as being specialists.
11
       197.        At all times relevant hereto, all named DEFENDANTs had a non-delegable duty
12
          to render appropriate medical care within acceptable medical standards to PLAINTIFF.
13
       198.        At all times relevant hereto, PLAINTIFF relied upon all named DEFENDANTs to
14

15        perform their duty to render said appropriate care within the acceptable standards and

16        within the standard of their stated expertise and/or in their respective fields of medicine.
17
          By virtue of the physician-patient relationship, Drs. Gale, Dr. Symanietz and Dr. Yost
18
          had a fiduciary duty to Ms. Chipoka to not perform acts for their own pecuniary gain that
19
          were contrary to her welfare.
20

21     199.        That a confidential and fiduciary relationship existed between plaintiff, the

22        defendants by virtue of the trust and confidence reposed by plaintiffs in the integrity and
23
          fidelity of defendants, creating a duty of full disclosure to plaintiff of all material
24
          information and documentation regarding the circumstances surrounding the defendant's
25
          care and treatment and his true medical diagnosis and prognosis and also regarding
26

27        plaintiff's treatment options.

28
     COMPLAINT         JURY TRIAL DEMANDED - 38
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1      200.        DEFENDANTS treatment plan was contrary to Ms. Chipoka’s financial and
2
          physical health. During this period, DEFENDANTS subjected her to a minimum of 3 CT
3
          guided drain placement, 3 hospitalizations and a botched surgery. Ms. Chipoka was billed
4
          for these services at or about a whopping $150,000.
5

6      201.        As a direct and proximate result of breaches of fiduciary duties to Ms. Chipoka

7         she suffered bodily injury and resulting pain and suffering, mental anguish, disability,
8
          disfigurement, and loss of the capacity for the enjoyment of life, has incurred and will
9
          incur in the future expense of hospitalization, medical and nursing care and treatment,
10
          and aggravation of previously existing conditions.
11

12     202.        These losses are permanent or continuing in nature, and she will suffer them in

13        the future. DEFENDANTS Allina, HealthPartners and ANW Hospital has a duty and a
14
          responsibility to their patients to furnish appropriate and competent medical care.
15
       203.        As part of their duties and responsibilities, the entity DEFENDANTS have an
16
          obligation to establish policies and procedures and employ a medical staff who will
17

18        ensure that the appropriate quality of medical care is provided in the institution.

19     204.        Acting through its administrators, various boards committees and individuals,
20
          DEFENDANTS Allina, HealthPartners and ANW Hospital are responsible for the
21
          standards of professional practice of all who practice medicine within their walls.
22
       205.        The injuries, damages and losses suffered by PLAINTIFF, as fully herein set forth
23

24        were the direct and proximate result of the DEFENDANTS failure to provide competent,

25        appropriate and quality medical care as follows: a. In failing to hire, employ and/or
26
          otherwise associate with competent physicians, specifically DEFENDANT removed a
27
          healthy organ and without knowledge or consent; b. In permitting and/or allowing
28
     COMPLAINT        JURY TRIAL DEMANDED - 39
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1         medical care to be rendered to and/or entrusting the care of PLAINTIFF to a healthcare
2
          provider, specifically DEFENDANTs Gale, S, Yost and Does, not sufficiently qualified
3
          by experience, education, competency, skills and/or training; c. In failing to adequately
4
          supervise, monitor, evaluate, guide and/or oversee the medical care rendered to
5

6         PLAINTIFF; d. In failing to have in place proper protocols, standards and/or guidelines

7         relating to the performance of surgical procedures, such as were performed upon
8
          PLAINTIFF; and e. In failing to properly train and retrain those responsible for
9
          performing the type of surgical procedures performed upon PLAINTIFF.
10
       206.        PLAINTIFF demands judgment against all DEFENDANTs, jointly and severally,
11

12        for compensatory damages in an amount to be determined at trial for all claims, interest,

13        the costs of this action, attorney fees and such other and further relief to which
14
          PLAINTIFF is entitled as determined by this Court.
15
                                               COUNT X
16
                                        (Loss of Consortium
17
                                     Against all DEFENDANTS)
18
       207.        PLAINTIFF hereby incorporates by reference each of the allegations in each of
19
          the preceding paragraphs as though fully set forth herein.
20

21     208.        On February 9, 2016 Defendants removed Ms. Chipoka’s uterus and cervix

22        without her knowledge or consent and failed to provide hormone therapy. That at all
23
          times mentioned herein PLAINTIFFs Mirriam Chipoka and Tyrone Fields, III were and
24
          now are husband and wife.
25
       209.        Prior to the physical and emotional injuries, PLAINTIFF Tyrone Fields was able
26

27        to and did perform his duties as spouse.

28
     COMPLAINT        JURY TRIAL DEMANDED - 40
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1      210.        Subsequent to the injuries and as a proximate result of the said negligence of all
2
          DEFENDANTS and each of them, and of PLAINTIFF Mirriam Chipoka resulting
3
          injuries PLAINTIFF Tyrone Fields, has been deprived of the services of his wife by
4
          reason of her inability to carry on her usual duties and loss of consortium.
5

6      211.        At all relevant times, PLAINTIFF Mirriam Chipoka had a doctor-patient

7         relationship with DEFENDANTS. By the conduct described above, DEFENDANTS
8
          were negligent in failing to exercise the degree of skill and care ordinarily exercised by
9
          other surgeons under similar circumstances.
10
       212.        As a direct and proximate result of DEFENDANT’s negligence, PLAINTIFFS
11

12        have been damaged.

13     213.        As a result of DEFENDANT’s medical malpractice, PLAINTIFF had to undergo
14
          several surgical procedures, pay for additional medical procedures, endure pain and
15
          suffering, emotional distress, mental anguish and inconvenience.
16
       214.        PLAINTIFF Tyrone Fields is informed and believes, and on such information and
17

18        belief alleges that said injuries to his wife are of a permanent nature and that he will be

19        deprived of her services, love, affection, comfort, care, and society for a long period in
20
          the future, including performance of necessary duties all to PLAINTIFF’s damage in sum
21
          according to proof.
22
       215.        Before suffering these injuries, PLAINTIFF’s spouse was able to and did perform
23

24        all the duties of a wife and did perform all these duties, including assisting in maintaining

25        the home, and providing love, companionship, affection, society, sexual relations, moral
26
          support, and solace to PLAINTIFF including sharing the same bed and bedroom.
27

28
     COMPLAINT         JURY TRIAL DEMANDED - 41
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1       216.            As a direct and proximate result of the injuries, PLAINTIFF’s spouse has been
2
            unable to perform the duties of a wife in that she can no longer receive or provide love
3
            and affection, have sexual intercourse become pregnant and bear a child or actively
4
            participate in family, recreational, or social activities with plaintiff and contribute to the
5

6           household income.

7       217.            PLAINTIFF is therefore deprived and will be permanently deprived of his
8
            spouse’s consortium, all to plaintiff's damage, in a total amount to be established by proof
9
            at trial.
10
        218.            That at all times relevant herein PLAINTIFF Ms. Chipoka and PLAINTIFF
11

12          Tyrone Dewayne Fields III enjoyed a close familial relationship of son and mother.

13      219.            As a result of the aforementioned negligence and breach of duties on the part of
14
            Defendants, PLAINTIFF, have suffered the loss of consortium of his mother and due to
15
            the loss of guidance and companionship.
16
        220.            Due to the nature of the injuries sustained by PLAINTIFF’s spouse and the severe
17

18          physical and psychological strains they cause him PLAINTIFF has been damaged in a

19          total amount to be established by proof at trial.
20
                                          JURY TRIAL DEMANDED
21
     PLAINTIFF respectfully demands a trial by jury on all issues so triable.
22
                                            PRAYER FOR RELIEF
23

24   PLAINTIFF prays for judgment against DEFENDANTS and each of them, jointly and severally,

25   as follows:
26
        a. For an award of past and future economic damages according to proof at trial;
27
        b. For an award of past and future non-economic damages according to proof at trial;
28
     COMPLAINT             JURY TRIAL DEMANDED - 42
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1       c. For pre-and post-judgment interest as permitted by law;
2
        d. For all costs of suit incurred herein; and
3
        e. For such other and further relief as the Court deems just and proper
4

5

6

7

8
     Dated this 21st day of March 2020.
9

10
                                                        Karen Venice Bryan
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     COMPLAINT         JURY TRIAL DEMANDED - 43
